             18-23957-rdd              Doc 4        Filed 12/28/18 Entered 12/28/18 09:31:33                          Ch 7 First Mtg
                                                           I/J No POC Pg 1 of 3
Information to identify the case:

Debtor 1:
                      Beatrice Walker                                              Social Security number or ITIN:   xxx−xx−1304
                                                                                   EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                          Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                                EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Southern District of New York               Date case filed for chapter:         7    12/27/18

Case number:           18−23957−rdd
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case                                                                                                           12/17




For the debtor(s) listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                        About Debtor 2:

1.        Debtor's full name                     Beatrice Walker

2.        All other names used in the aka Beatrice Walker Kirby
          last 8 years

3.      Address                                  131 Beechwood Ave
                                                 Mount Vernon, NY 10553

4.      Debtor's attorney                        Irene M Costello                                       Contact phone 914−618−7364
                                                 Cabanillas & Associates, PC                            Email: icostello@cabanillaslaw.com
        Name and address                         120 Bloomingdale Rd
                                                 400
                                                 White Plains, NY 10605

5.      Bankruptcy trustee                       Mark S. Tulis                                          Contact phone (914) 747−4400
                                                 Tulis Wilkes Huff & Geiger LLP                         Email: mtulis.trustee@gmail.com
        Name and address                         220 White Plains Road
                                                 2nd Floor
                                                 Tarrytown, NY 10591
                                                                                                                  For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                                     page 1
          18-23957-rdd             Doc 4          Filed 12/28/18 Entered 12/28/18 09:31:33                                        Ch 7 First Mtg
                                                         I/J No POC Pg 2 of 3
Debtor Beatrice Walker                                                                                                         Case number 18−23957−rdd


6. Bankruptcy clerk's office                      300 Quarropas Street                                                Office Hours: Monday − Friday
                                                  White Plains, NY 10601                                              8:30 AM − 5:00 PM
    Documents in this case may be filed at this
    address. You may inspect all records filed    Clerk of the Bankruptcy Court:
    in this case at this office or online at                                                                          Contact phone 914−467−7250
    www.pacer.gov.                                Vito Genna                                                          Date: 12/28/18

7. Meeting of creditors                           February 5, 2019 at 09:30 AM                                        Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later                United States Bankruptcy Court,
    questioned under oath. In a joint case,       date. If so, the date will be on the court docket. Debtor           SDNY, 300 Quarropas Street,
    both spouses must attend. Creditors may       should bring this notice to the first meeting of creditors,
    attend, but are not required to do so.        together with any other documents requested by the                  Room TBD, White Plains, NY
                                                  trustee.                                                            10601−5008
                                                  Cell phones are not permitted in the Courthouse
                                                  without an Attorney Secure Pass which can be
                                                  obtained at the U.S. District Court Clerk's Office.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 4/8/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                   • if you assert that the debtor is not entitled to receive a discharge of any debts under any
                                                     of the subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or
                                                  • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                   Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as                 conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, other than claims secured by a security
                                                  interest in the principal residence, please do not file a proof of claim now. If it later appears that assets are
                                                  available to pay creditors, the clerk will send you another notice telling you that you may file a proof of
                                                  claim and stating the deadline.
                                                  Deadline for holder(s) of a claim secured by a security            Filing deadline: 70 days after the
                                                  interest in the principal residence pursuant to Rule               order for relief is entered.
                                                  3002(c)(7)(A):


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                  have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                  exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.


13. Debtors                                       Duty to complete Financial Management Course and File Certificate: The Personal Financial Management
                                                  Course must be completed and Official Form 423 (Certification About a Financial Management Course)
                                                  must be filed within 60 days after the first date set for your section 341(a) meeting, pursuant to Bankruptcy
                                                  Rule 1007(c). Please note: You will not receive your discharge and your case will be closed without entry
                                                  of a discharge, if you do not file the form within the required time allotted. If you fail to file the Certification
                                                  About a Financial Management Course and your case is closed, you will be required to file a Motion to
                                                  Reopen the Case to allow for filing of the Certification, paying required fees, if any become due,
                                                  applicable to either the reopening of the case or filing of the motion.
          18-23957-rdd            Doc 4        Filed 12/28/18 Entered 12/28/18 09:31:33     Ch 7 First Mtg
                                                      I/J No POC Pg 3 of 3
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                    page 2
